







		NO. 12-08-00339-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




MICHAEL KENNEDY,§
		APPEAL FROM THE THIRD

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		ANDERSON COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant Michael Kennedy filed a notice of appeal from a judgment of conviction for
burglary, a felony.  See Tex. Penal Code Ann. § 30.02(c), (d) (Vernon 2003).  Included in his
notice of appeal is a request for an out of time appeal.  	

	The Texas Court of Criminal Appeals is the only court with jurisdiction to consider a request
for an out of time appeal.  See Ater v. Eighth Court of Appeals, 802 S.W.2d 241, 243 (Tex. Crim.
App. 1991).  Moreover, on February 25, 1988, in our cause number 12-86-00248-CR, we issued an
opinion affirming the judgment Appellant attempts to appeal.  That judgment because final after the
court of criminal appeals denied Appellant's petition for review, and we issued our mandate on
April&nbsp;13, 1988.  Texas Code of Criminal Procedure, article 11.07 provides that a challenge to a final
felony conviction, in a case in which the death penalty is not imposed, must be made by an 
application for writ of habeas corpus, returnable to the court of criminal appeals.  Tex. Code Crim.
Proc. Ann. art. 11.07 (Vernon Supp. 2008); Bd. of Pardons &amp; Paroles ex rel. Keene v. Eighth
Court of Appeals, 910 S.W.2d 481, 483 (Tex. Crim. App. 1995).  Courts of appeals do not have
jurisdiction in such matters.  See Tex. Gov't Code Ann. § 22.221(d) (Vernon 2004).  Accordingly, 
this appeal and Appellant's request for an out of time appeal are dismissed.

Opinion delivered September 3, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.















































(DO NOT PUBLISH)


